THe New Yors City DEPARTMENT OF EDUCATION
JCEL I, KLEIN, Chancellor

 

 

A. PHILIP RANDOLPH CAMPUS HIGH SCHOOL aT CITY COLLEGE B. RUBLO, PRINCIPAL

135" Street & Convent Ave. Telephone: (212) 926-0123
New York, New York 10031 Fax: (212) 281-2726
March 19%, 2008
TO: Melissa Bastian.
FROM: H. Rubio

RE: Step | Grievance - Assignment/Workload Dispute

 

lhave scheduled your Step I Grievance, received in my office on March 17%, 2008, ‘for
Monday March 24%, 2008 at 5:30 PM in the conference room.

c. R. Williams, UFT Chapter Chair

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ASSIGNMENT WORKLOAD DISPUTE. .
SCHOOL SECRETARIES = 06/01/2003 - io/1a/2007

5.7.9, 45 .

THAVE BEEN RE-ASSIGNED TO THE VARIOUS DEPARTMENTS AND A SCHOOL AIDE
BEEN GIVER MY LICENSEO SECRETARIAL ASSIGNMENT.

THIS WAS DONE ARBITRARILY AND CONTRADICTS THE STATED

PURPOSE OF THE RE-ASSIGHMENT. 1 HAVE SEEN DISPATCKED TO oo

TEACHERS’ WORK AND OTHER HOM- SECRETARIAL ASSIGNMENTS,

 

&

REMEDY. FULL DISCLOSURE OF ALL SECRETARIAL ASSIGHMENTS,
ADHERENCE TO THE CONTRACT/REGULATIONS / SPECIAL
CIRCULARS. RE-ASSIGNMEHT To PREVIOUS POSITION,

 

   

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JOEL bl. KLEIN, Chancellor

 

A. Puitip RANDOLPH CAMPUS HiGH SCHOOL AT City COLLEGE | HENRY RUBIO
135" Street & Convent Ave. Telephone, (212 ) 926-0115

New York, New York 16031 Fax: (212) 281-2726

March 25", 2008

Melissa Bastian
Teacher
A. Philip Randolph Campus High School

Dear Ms. Bastian:
Your Step | Grievance dated and filed in my office on March 17° (assignment/workioad

dispute), 2008 has been denied. Please be advised that | was s not presented with any
evidence of a violation of Article 5, 7, 9, 75.

 

Henry Rabhe
Principal

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